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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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--------------------------------------------------------"''"'"f"'-+~.....,._x
                                                              Case No.
                                                                                          3387
KENNETH NOE, on behalf of himself iHdi~tfdl!ii/Y -~'(:,;,::,u ~' Y
and all others similarly situated  -k JUL I 4 t:i.HI                            *     GARAUF\S, J.
                                                    8~~}B~-!tYN OFFICE                         .
                                                                                CLASS ACTION
                   -against-                                                     COMPLAINT     LfWM.J
BUDZIK & DYNIA, LLC.

                                                      Defendant.
------------------------------------------------------------------------)(
                  Plaintiff, by and through his attorneys, FAGENSON & PUGLISI, upon

knowledge as to himself and his own acts, and as to all other matters upon information

and belief, brings this complaint against the above-named defendant and in support

thereof alleges the following:

                                                INTRODUCTION

                  1.        This is an action brought by an individual consumer and on behalf

of a class for defendant's violations of the Fair Debt Collection Practices Act ("FDCPA"),

15 U.S.C. §1692, et seq which prohibits debt collectors from engaging in abusive,

deceptive and unfair acts and practices.

                                                     PARTIES

                  2.       Plaintiff is a natural person who resides in this District and is a

consumer as defined by the FDCPA, §1692a(3).

                  3.       Upon information and belief, defendant is a debt collector, as

defined pursuant to 15 U.S.C. §1692a(6), with its principal place of business in Illinois.

Defendant uses the mail to collect consumer debt owed or due or alleged to be owed or
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due to others.

                                JURISDICTION AND VENUE

                 4.   This Court has jurisdiction and venue pursuant to 15 U.S.C. §

1692k(d) (FDCPA) and 28 U.S.C. §1331.

                        AS AND FOR A FIRST CAUSE OF ACTION

                 5.   That plaintiff re-alleges paragraphs 1 to 4 as if fully re-stated herein.

                 6.   That at a time within the knowledge of defendant, defendant began

collecting consumer debt allegedly incurred by plaintiff for personal purposes to FIA

Card Services.

                 7.   That by letter dated April11, 2011 defendant wrote to plaintiff in an

attempt to collect the debt. Plaintiff received this letter.

                 8.   That the letter states in pertinent part:

       "Federal law provides that if you do not provide us with a statement that you
       dispute the validity of this debt, or any portion thereof, within thirty days of the
       receipt of this letter, we may assume that such debt is valid."

                 9.   That said sentence from the letter is deceptive, in that the

requirement that the consumer provide a "statement" to defendant implies that the

statement must be a written statement. A requirement by defendant that the consumer

provide a written statement disputing the debt to prevent defendant from assuming the

validity of the debt is improper, as the FDCPA, §1692g(a)(3) allows the consumer to

dispute the debt either orally or in writing.

           10.        That said sentence from defendant's letter therefore violates the

FDCPA, §1692g(a)(3).
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              11.    That said sentence also constitutes a false representation or a

deceptive means to collect or attempt to collect a debt in violation of §1692e(1 0).

                         AS AND FOR A SECOND CAUSE OF ACTION

              12.    That plaintiff re-alleges paragraphs 1 to 11 as if fully re-stated

herein.

              13.    That the said letter of defendant also states, in pertinent part:

       "If you do dispute it by notifying us in writing to that effect, we will, as required
       by law, obtain verification of the debt or any related judgment against you, and
       mail such documentation to you."

That this statement violates the FDCPA, including but not limited to §1692g(a)(4), in that

the said provision provides specifically that the statement to the consumer must be that

if the consumer notifies the debt collector in writing within thirty days after receipt of the

notice, the debt collector shall provide the required information.

              14.    That the sentence from defendant's letter does not state that the

notification must be made within the thirty-day period, and therefore violates the

FDCPA, §1692g(a)(4).

             15.     That said language also violates the FDCPA §1692g(b) in that

unless the request is made within the 30-day period, the debt collector is not legally

obligated to cease collection of the debt until the information is provided to the

consumer.

              16.    That said sentence also constitutes a false representation or a

deceptive means to collect or attempt to collect a debt in violation of §1692e(10) in that

the language could reasonably lead the least sophisticated consumer to believe,

erroneously, that a written dispute made at any time will protect her rights in obtaining
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said information and a cessation in the attempts to collect the debt in the meantime ..

                           AS AND FOR A THIRD CAUSE OF ACTION

              17.    That plaintiff re-alleges paragraphs 1 to 16 as if fully re-stated

herein.

              18.    That the said letter of defendant also states, in pertinent part:

       "And, if within the same period, you request in writing the name and address
       of your original creditor, if the original creditor is different from the current
       creditor, we will furnish you with that information too."

              19.    That said sentence in the letter to the consumer does not mention

that the request for the name and address of the original creditor must be made within

thirty days after receipt of the letter, as required under §1692g(a)(5) and therefore

violates said provision.

             20.    That said language also violates the FDCPA §1692g(b) in that unless

the request is made within the 30-day period, the debt collector is not legally obligated

to cease collection of the debt until the information is provided to the consumer.

             21.     That said language also constitutes a false representation or a

deceptive means to collect or attempt to collect a debt in violation of §1692e(1 0) in that

the language could reasonably lead the least sophisticated consumer to believe,

erroneously, that a request for the name and address of the original creditor made at

any time will protect her rights in obtaining said information and a cessation in the

attempts to collect the debt in the meantime.
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                                   CLASS ALLEGATIONS

             22.      That plaintiff re-alleges paragraphs 1-21 as if fully re-stated herein.

             23.      That this action is brought on behalf of plaintiff and the members of

a class. The class consists of all persons who defendant's records reflect resided in the

United States and who were sent a collection letter (a) bearing the defendant's

letterhead in substantially the same form as the letter sent to plaintiff dated April 11,

2011; (b) the collection letter was sent to a consumer seeking payment of an alleged

consumer debt; (c) the collection letter was not returned by the postal service as

undelivered; and (d) the letter contained violations of 15 U.S.C. §§1692e(10), 1692g(a)

(4), 1692g(a)(5) and 1692g(b).

               The Class shall be defined as follows: All natural persons to whom were

sent by defendant at an address within the United States a notice for the collection of a

consumer debt, which notice contains the statement "Federal law provides that if you do

not provide us with a statement that you dispute the validity of this debt, or any portion

thereof, within thirty days of the receipt of this letter, we may assume that such debt is

valid. If you do dispute it by notifying us in writing to that effect, we will, as required

by law, obtain verification of the debt or any related judgment against you, and

mail such documentation to you. And, if within the same period, you request in writing

the name and address of your original creditor, if the original creditor is different from

the current creditor, we will furnish you with that information too. "

The class does not include defendant and any person, firm, trust, corporation or other

entity related to or affiliated with defendant, including, without limitation, persons who

are officers, directors, employees, associates or partners of defendant.
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              24.    That pursuant to Federal Rule of Civil Procedure 23, a class action

is appropriate and preferable in this case because:

              (A)    Based on the fact that the collection letter that is the gravamen of

this litigation is a mass-mailed form letter, the class is so numerous that joinder of all

members is impracticable. Upon information and belief, thousands of persons have

received similar debt collection letters from defendant which violate the various

provisions of the FDCPA.

              (B)    There are questions of law and fact common to the class and these

questions predominate over any questions affecting only individual class members. The

principal question presented by this claim is whether defendant violated the FDCPA by

sending collection letters with an improper validation notice, in violation of 15 U.S.C. §§

1692g(a), 1692g(b) and 1692e(10).

              (C)   The only individual issue is the identification of the consumers who

received the letters (the class members), a matter capable of ministerial determination

from the records of defendant.

              (D)   The claims of plaintiff are typical of those of the class members. All

are based on the same facts and legal theories.

             (E)     Plaintiff will fairly and adequately represent the class members'

interests. plaintiff has retained experienced counsel. Plaintiff' interests are consistent

with those of the members of the class.

             25.    That a class action is superior for the fair and efficient adjudication

of the class members' claims. Congress specifically envisions class actions as a

principal means of enforcing the FDCPA in 15 U.S.C. § 1692k. The members of the
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class are generally unsophisticated individuals, whose rights will not be vindicated in

the absence of a class action. Prosecution of separate actions by individual members of

the class would create the risk of inconsistent or varying adjudications resulting in the

establishment of inconsistent or varying standards for the parties and would not be in

the interest of judicial economy.

              26.    That if the facts are discovered to be appropriate, plaintiff will seek

to certify a class action pursuant to rule 23(b)(3) of the Federal Rules of Civil Procedure.

              27.    That communications from debt collectors, such as those sent by

defendant, are to be evaluated by the objective standard of the hypothetical "least

sophisticated consumer".

             28.     That as a result of the above violations, defendant is liable to

plaintiff and the members of the class for statutory damages in an amount to be

determined at the time of trial, plus costs and attorneys' fees.

              WHEREFORE, plaintiff respectfully prays that judgment be entered

against defendant as follows:

              (a)    certifying a class action pursuant to Federal Rules of Civil

                     Procedures, Rule 23;

              (b)    statutory damages pursuant to 15 U.S.C. §1692k in an amount to

                     be determined at the time of trial;

              (c)    awarding       class   members   the   maximum    statutory damages

                     pursuant to 15 U.S.C. §1692k;

              (d)    reasonable attorneys' fees, costs and disbursements pursuant to 15

                     U.S.C. §1692k; and
            (e)
                  -
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                                                         ._
                   for such other and further relief as may be just and proper.



                                    DEMAND FOR TRIAL BY JURY

            Plaintiff requests trial by jury on all issues so triable.

Dated: New York, New York                         ~ ~~                            /
       July 8, 2011.                             1\..  ~ ·  Ji~11

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